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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

MICHAELA HEMPHILL, et al.,                     )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )               Civil Action No. 22-CV-1391
                                               )
MIGUEL CARDONA, Secretary of the               )
United States Department of Education, et al., )
                                               )
       Defendants.                             )
__________________________________________)

                                     JOINT STATUS REPORT

          Pursuant to this Court’s April 10, 2023 Minute Order, the parties provide this joint status

report.

Joint Statement

          This case seeks class-wide relief pursuant to 5 U.S.C. § 706 on behalf of certain students

who enrolled in the Criminal Justice program at Westwood College in Illinois and are part of a

request (the “IL AG Application”) submitted in 2016 by the Illinois Attorney General’s Office

(“IL AG”) to the U.S. Department of Education to have their federal student loans discharged.

Plaintiffs filed an Amended Complaint (“Complaint”) on August 17, 2022. Dkt. 18. Defendants,

Miguel Cardona, in his official capacity as the Secretary of Education, and the United States

Department of Education (together, “Department”) filed an Answer to Plaintiffs’ Amended

Complaint (“Answer”) on August 25, 2022. Dkt. 19. There are no other pending deadlines in the

case.

          On August 30, 2022, the Department announced that it will “discharge all remaining

federal student loans for borrowers who enrolled in any location of Westwood College (including

enrollment in Westwood's online program) between January 1, 2002 through November 17, 2015
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when it stopped enrolling new borrowers in advance of its 2016 closure.” Press Release, U.S. Dep’t

of Educ., Education Department Approves $1.5 billion in Debt Relief for 79,000 Borrowers Who

Attended Westwood College (August 30, 2022) (hereinafter “August 2022 Press Release”),

https://www.ed.gov/news/press-releases/education-department-approves-15-billion-debt-relief-

79000-borrowers-who-attended-westwood-college.

       As previously noted, the Department, on March 29, 2023, began issuing notices to

borrowers of their “Student Loan Discharge Based on Borrower Defense Evidence.” ECF No. 25

at 2. The Notice provides that the Department is effectuating a “Group Discharge” regarding “all

outstanding Federal student loans taken out by students for attendance at Westwood College

between January 1, 2002 through the school's closure in 2016.” Id. The Department further states

that the action “follow[ed] the Department's finding that the school engaged in widespread

misconduct that violated state consumer protection laws and/or made widespread substantial

misrepresentations about its students' employment prospects and the ability of its' students to

transfer credits, both of which create a basis for a claim for borrower defense to repayment

discharge under the Department's regulations.” Id. Since the last status report, the Department

has begun the process of completing the discharges for the Westwood group borrowers. As of

June 7, 2023, the Department has completed the discharges of the Department-held loans of

approximately 30,000 Westwood group borrowers. This represents approximately 35% of such

borrowers.

       The parties continue to make progress discussing the details of the Department’s

implementation of debt relief for former Westwood students; how such implementation will affect

the named Plaintiffs and proposed class in this litigation; and how such implementation will affect




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future litigation in this case, if any. As discussions between the parties are ongoing, the parties

respectfully propose providing this Court another joint status report on July 28, 2023.



Dated: June 9, 2023                          Respectfully submitted,


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*application for admission pro hac vice granted



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** Practice is supervised by one or more D.C. Bar members and admitted to the Bar under D.C.
App. R. 46-A (Emergency Examination Waiver)

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